             Case 2:11-cr-00296-WBS Document 855 Filed 04/26/19 Page 1 of 3


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4
     Attorney for Defendant
 5
     MANUEL HERRERA
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-296-WBS
 9
                                                     )
                                                     )
10          Plaintiff,                               )       STIPULATION AND [PROPOSED]
                                                     )       ORDER VACATING STATUS
11
     v.                                              )       CONFERENCE AND SETTING
                                                     )       SENTENCING DATE
12
     MANUEL HERRERA,                                 )
                                                     )
13   SANDRA HERMOSILLO,                              )       Date: August 19, 2019
     MOCTEZUMA TOVAR, and                            )       Time: 9:00 a.m.
14
     JUN MICAHEL DIRAIN,                             )       Judge: WILLIAM B. SHUBB
                                                     )
15
                                                     )
            Defendants.
16

17

18

19
            This matter is presently set for status conference before this court on April 29, 2019.
20
     Trial defendants Ruben Rodriguez and Jamie Mayorga were recently found guilty (see, ECF
21
     848). The Honorable John A. Mendez has set a sentencing date of August 6, 2019 as to Mr.
22
     Rodriguez and Mayorga. The defendants in this matter appearing before this court have all
23
     pleaded guilty and are awaiting sentencing. As such, the parties are requesting the court vacate
24
     the presently scheduled status conference (April 29, 2019) and adopt the sentencing date (August
25
     19, 2019) and proposed PSR/objection schedule submitted herein.
26
            Therefore, the United States of America through its undersigned counsel, Brian Fogerty,
27
     Assistant United States Attorney, together with counsel for defendant Moctezuma Tovar,
28
     Thomas A. Johnson, Esq., counsel for defendant Sandra Hermosillo, Erin J. Radekin, Esq.,


                                                         1
              Case 2:11-cr-00296-WBS Document 855 Filed 04/26/19 Page 2 of 3



 1   counsel for defendant Jun Michael Dirain, Timothy Zindel, Esq., and counsel for defendant
 2   Manuel Herrera, John R. Manning, Esq., hereby request the Court adopt the following schedule
 3   pertaining to the presentence report:
 4
                Judgment and Sentencing date:                                  8/19/19, 9:00 a.m.
 5
                Reply, or Statement of Non-Opposition:                         8/12/19
 6
                Motion for Correction of the Presentence
 7
                Report Shall be filed with the Court and
 8              served on the Probation Officer and
                opposing counsel no later than:                                8/5/19
 9

10
                The (final) Presentence Report shall be filed
                with the Court and disclosed to counsel
11              no later than:                                                 7/15/19
12              Counsel’s written (informal) objections to the
13
                Presentence Report Shall be delivered
                to the probation officer and opposing
14              Counsel no later than:                                         7/1/19
15
                The draft Presentence Report (with any modifications
16              or updates) shall be filed with the Court and
                disclosed to counsel no later than:                            6/10/19
17

18      IT IS SO STIPULATED.
19

20   Dated: April 25, 2019                                       /s/ John R. Manning
                                                                 JOHN R. MANNING
21                                                               Attorney for Defendant
                                                                 Manuel Herrera
22

23   Dated: April 25, 2019                                       /s/ Thomas A. Johnson
                                                                 THOMAS A. JOHNSON
24                                                               Attorney for Defendant
                                                                 Moctezuma Tovar
25

26   Dated: April 25, 2019                                       /s/ Erin J. Radekin
                                                                 ERIN J. RADEKIN
27                                                               Attorney for Defendant
28
                                                                 Sandra Hermosillo



                                                     2
             Case 2:11-cr-00296-WBS Document 855 Filed 04/26/19 Page 3 of 3


     Dated: April 25, 2019                           /s/ Timothy Zindel
 1
                                                     TIMOTHY ZINDEL
 2                                                   Attorney for Defendant
                                                     Jun Michael Dirain
 3
     Dated: April 25, 2019                           McGregor W. Scott
 4
                                                     United States Attorney
 5
                                               by:   /s/ Brian A. Fogerty
 6                                                   BRIAN A. FOGERTY
 7
                                                     Assistant U.S. Attorney

 8
                                        ORDER
 9

10
           IT IS SO FOUND AND ORDERED.
11   Dated: April 26, 2019
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                           3
